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4 DISTRICT COURT DALY,

‘ke acT 06 2021 *

LONG ISLAND OFFICE

IN THE UNITED STATES DISTRICT COURT FOR THE
—- Noe. \
- EASTERN Distrvcy _

CARL Pn dDRews )
(full name) (Register No). )
» Co a673
) ; ee
) Case No.
i _Plaintiff(s). )
JAMES ean DeTectiy
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BestTiman Shrrer ) Defendants are sued in their (check one): | LINDSAY, M.J.
(Full name) ) Individual Capacity
Ct San Keil Anal ) , Official Capacity
T2RA Spi) Ke ) _V Both

Defendant(s).

COMPLAINT PURSUANT TO 28 U.S.C. § 1331

L Place of present confinement of plaintiff(s): fv Pran K Cert cal Cos |
Facglity [16 Center DR. Riverhead NY SIP?

Il. Parties to this civil action:

Please give your commitment name and any another name(s) you have used while
incarcerated.

A. Plaintiff Cad Le Auckhrew.s t . Register No.
Address fig Cen Poa Dai &
River neAch iy 11 ¢e |

B. Defendant SEE Ex h toy L 4A

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For additional plaintiffs or defendants, provide above information in same format on a
separate page.
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Do you request a jury trial?

Do your claims mvolve medical treatment? Yes 4 No
Do you request money damages? eo No Oo

State the amount claimed? $ KO, be Qe ( actual/punitive)

Are the wrongs alleged in your complaint continuing to occur? Yes No T]

Grievance procedures:

A. Does your institution have an administrative or welt we
Yes

|. No L]
B. Have the claims in this case been presented through dministratl grievance
procedure within the institution? ves | | No

C. If a grievance was filed, state the date your claims were presented, how they were
presented, and the result of that procedure. (Attach a copy of the final result.)

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D. Ifyou have not filed a grievance, state the reasons.

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Previous civil actions: ,
A. Have you begun other cases in state or fede Tts oe with the same facts

involved in this case: Yes No
B. Have you begun other cases in state or federal s relatmne to the-conditions of or
treatment while incarcerated? Yes No]

C. If your answer is “yes,” to either of the above questions, provide the following
information for each case.

(1) Style: CARL Aniclee ues
(Plaintiff) — (Defendant)
(2) Date filed: SegTzwben ILM Jed)

(3) Court where filed: ba A Ther al dD. sTrie TE

(4) Case Number and citation: NZ 4

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(5) Basic claim made: VeNwe Uielaliow SPeedy Fvial rola

(6) Date of disposition: N / A

(7) Disposition: N / A
(Pending) (on appeal) (resolved)

(8) If resolved, state whether for: N / %~

(Plaintiff) or (defendant)
For additional cases, provide the above information in the same format on a separate page.
Statement of claim:

State here as briefly as possible the facts of your claim. Describe how each named defendant
is involved. Include the names of other persons involved, dates and places. Describe
specifically the injuries incurred. Do not give legal arguments or cite cases or statutes. You
may do that in Item “B” below. Ifyou allege related claims, number and set forth each claim
in a Separate paragraph. Use as much space as you need fo state the facts. Attach extra
sheets, if necessary. Unrelated separate claims should be raised in a separate civil action.

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COMET: PMile Also v
State briefly your legal theory or cite appropriate authority:

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Relief: State briefly exactly what you want the court to do for you. Make no legal arguments

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X. Counsel:

A. Ifsomeone other than a lawyer is assisting you in preparing this case, state the person’s
name.

Alexaucle ph Dixon

B. Have you made any effort to contact a private lawyer to determine if he o ould
represent you in this civil action? vel | No

If so, state the names(s) and address(es) of each lawyer contacted.

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C. Have you previously had a lawyer representing you in a civil action in this rye
Yes No

If so, state the lawyers name and address.

A/i a
ISTP

I declare under penalty of perjury that the foregoing is true and correct.

Executed (signed) this A \ day of S € pt 20 11

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2!" Day Of September 20 2/ (Signatures of Plainti (sf

Notary Public

KATHLEEN DOHERTY
Notary Public, State of New York
Re IStration No. 01D06400819
Qualified in Suffolk County
Commission Expires Nov. 25, 2023 4

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